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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY




 UNITED STATES OF AMERICA
                                                             MAGiSTRATE NO, 13-25 58(DEA)




                                                                     ORDER

CRYSTAL C. HAWKINS




        The financial inability of the defendant to retain counsel having been established by the Court.

and the defendant not having waived the appointment of counsel.

               it is on this    22ND      day of       OCTOBER        .2013,

       ORDERED that                      1
                                         2
                                         2
                                         h&M/frJ                 from the Office of the Federal Public

Defender for the District ofNew Jersey is hereby appointed to represent said defendants in
                                                                                             the cause for
the purpose of the Initial Appearance.




                                                     Douglas IArrt
                                                     United Stiesagistrate Judge




                                UNITED STATES DISTRICT COURT
